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  IT IS ORDERED as set forth below:



  Date: April 12, 2013
                                                      _________________________________

                                                                Barbara Ellis-Monro
                                                           U.S. Bankruptcy Court Judge


________________________________________________________________

                   IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

  IN RE:                                        *
                                                *      CHAPTER 13
  ABRAHAM OLUGBENGA ESEKU,                      *
  and OLUBUKOLA OLUREMI ESEKU,                  *
                                                *      CASE NO.: 10-81048-BEM
              Debtors,                          *
  _________________________________             *
  GEORGIA LOTTERY CORPORATION,                  *
                                                *
                  Plaintiff,                    *
                                                *
  v.                                            *
                                                *      Adv. No. 12-05646
  OLUBUKOLA OLUREMI ESEKU,                      *
                                                *
                  Defendant.                    *

                           FINAL CONSENT ORDER AND JUDGMENT

           The Plaintiff filed this Adversary Proceeding seeking a determination regarding

  the dischargeability of Defendant’s obligation to the Georgia Lottery Corporation. The

  parties have discussed the adversary proceeding and reached an agreement as to its

  resolution in its entirety; IT IS HEREBY ORDERED as follows:
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         The obligation owed by Defendant to Plaintiff is nondischargeable. Judgment is

  hereby entered in favor of the Plaintiff for the total amount of $124,004.19, representing

  the principal obligation demanded in the complaint of $123,710.52, plus court costs of

  $293.67. A writ of execution shall issue in this case for the amount of the judgment,

  which will be recorded immediately by the Plaintiff.

          Plaintiff shall be entitled to take further collection activities against Defendant for

  collection of the full amount of the judgment at either the discharge or dismissal of the

  Defendant’s Chapter 13 case. As provided herein, this Adversary Proceeding is

  concluded in its entirety.

                                   [END OF DOCUMENT]
  Consented to by:

  /s/ Carrie Oxendine (by ASE w/ express permission)
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  Ga. Bar No. 141478
  Attorney for Defendant

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  Attorney for Georgia Lottery Corporation

  /s/_Sonya M. Buckley (by ASE w/ express permission)
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  Mary Ida Townson, Chapter 13 Trustee
  Suite 2200, 191 Peachtree Street, N.E.
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  Attorney for the Chapter 13 Trustee




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  Trustee
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